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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



KARL WIRTH,

               Plaintiff,
                                                     CIVIL ACTION NO. l:23-cv-11718
v.

SALESFORCE, INC.,

               Defendant.


              AFFIDAVIT OF KATHLEEN D. PARKER IN SUPPORT OF
                   SALESFORCE, INC.’S MOTION TO DISMISS

I, Kathleen D. Parker, being duly sworn, hereby depose and say:

       1.     I am a partner at K&L Gates LLP, One Congress Street, Suite 2900, Boston,

Massachusetts 02114.

       2.     I represent Defendant Salesforce, Inc. (“Salesforce”) in the above-captioned matter.

       3.     Attached as Exhibit 1 is a true and accurate copy of the Dreamforce Keynote

Presentation Slides, that were presented at the Salesforce 2022 Dreamforce Conference on

September 20-22, 2022.




       Signed under the penalties of perjury this 16th day of October, 2023.




                                                    Kathleen D. Parker
        Case 1:23-cv-11718-AK Document 14 Filed 10/16/23 Page 2 of 227




                               CERTIFICATE OF SERVICE

       I, Kathleen D. Parker, hereby certify that on October 16, 2023, the foregoing document

was served on counsel of record.




                                                   Kathleen D. Parker
                                                                                  Case 1:23-cv-11718-AK Document 14 Filed 10/16/23 Page 3 of 227




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  This presentation contains forward-looking statements about, among other things, trend analyses and future events, future financial performance, anticipated growth, industry prospects,
  environmental, social and governance goals, and the anticipated benefits of acquired companies. The achievement or success of the matters covered by such forward-llooking statements
   involves risks, uncertainties and assumptions. If any such risks or uncertainties materialize or if any of the assumptions prove incorrect, Salesforce's results could differ materially from the results
  expressed or implied by these forward-looking statements. The risks and uncertainties referred to above include those factors discussed in Salesforce's reports filed from time to time with the
  Securities and Exchange Commission, including, but not limited to: the impact of, and actions we may take in response to, the COVID-19 pandemic, related public health measures and resulting
   economic downturn and market volatility; our ability to mainta in security levels and service performance meeting the expectations of our customers,. and the resources and costs required to
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  avoid unanticipated downtime and prevent, detect and remediate performance degradation and seieurity breaches; the •expensesassociated with our data centers and third-party infrastructure
   providers; our ability to secure additional data center capacity; our reliance on third-party hardware, software and platform providers;: the effect of evolving domestic and foreign government
   regulations, including those related to the provision of services on the Internet, those related to accessing the Internet, and those addressing data privacy1 cross-border data transfers and import
  and export controls; current and potential !litigation involving us or our industry, inc1uding litigation involving acquired entities such as Tableau Software, Inc. and Stack Technologies, Inc., and
  the resolution or settlement thereof; regulatory developments and regulatory investigations involving us or affecting our industry; our ability to successfully introduce new services and product
  features, including any efforts to expand our services; the suiecessof our strategy of acquiring or mak1i·nginvestments in complementary businesses, joint ventures, services, technologies and
   intellectual property rights; our ability to complete, on a timelry basis or at all 1 announced transactions; our ability to realize the benefits from acquisitions, strategic partnerships, joint ventures
  and investments, including our July 2021 acquisition of Slack Technologies, Inc., and successfully integrate acquired businesses and technologies; our ability to compete in the markets in which
  we participate; the success of our business strategy and our plan to build our business1 including our strategy to be a leading provider of enterprise cloud computing applications and platforms;
   our ability to ,execute our business plans; our ability to continue to grow unearned revenue and remaining performance obligation; the pace of change and innovation in enterprise cloud
   computing services; the seasonal nature of our sales cycles; our ability to limit ,customer attrition and costs related to those efforts; the success of our international expansion strategy; the
   demands on our personnel and infrastructure, :resulting from significant growth in our customer base and operations, including as a re,sult of acquisitions; our ability to preserve our workplace
   culture, including as a result of our decisions regarding our current and future office environments or work-from-home policies; our dependency on the development and maintenance of the
   infrastructure of the Internet; our real estate and office facilities strategy and related costs and uncertainties; fluctuations in, and our ability to predict, our operating results and cash flows; the
  variability in our results arising from the accounting for term license revenue products; the performance and fair value of our investments in complementa1ry businesses through our strategic
   investment portfolio; the impact of future gains or losses from our strategic investment portfolio, including gains or losses from overall market conditions that may affect the publicly traded
   companies within our strategic investment portfolio; our ability to protect our intellectual property rights; our ability to develop our brands; the impact of foreign currency exchange rate and
   interest rate fluctuations on our results; the valuation of our deferred tax assets and the release of related valuation allowances; the potential availability of additional tax assets in the future; the
   impact of new accounting pronouncements and tax laws;.uncertainties affecting our ab ility to estimate our tax rate; uncertainties regarding our tax obligations in connection with potential
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  jurisdictional transfers of intellectual property, including the tax rate, the timing of the transfer and the value of such transferred intellectual property; uncertainties regarding the effect of
  general economic and market conditions; the impact of geopol,itical events; uncertainties regarding the impact of expensing stock options and other equity awards; the sufficiency of our capital
   resources; our ability to comply with our debt covenants and lease obligations; and the impact of climate change, natural disasters and actual or threatened public heal:th emergencies, including
  the ongoing COVID-19 pandemic.
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 Source: IDC White Paper sponsored by SaJesforce,
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                   Case 1:23-cv-11718-AK Document 14 Filed 10/16/23 Page 55 of 227




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 Data Residency I Sea!ability
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                   Case 1:23-cv-11718-AK Document 14 Filed 10/16/23 Page 58 of 227




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 Data Residency I Sea!ability
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                    Case 1:23-cv-11718-AK Document 14 Filed 10/16/23 Page 63 of 227




Two Toned Titles
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                   Case 1:23-cv-11718-AK Document 14 Filed 10/16/23 Page 65 of 227




Two Toned Titles
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 Customer Expectations
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                    Case 1:23-cv-11718-AK Document 14 Filed 10/16/23 Page 66 of 227




Two Toned Titles
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Two Toned Titles
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Two Toned Titles
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Two Toned Titles
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                   A speaker lineup that's
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                   Join us on Sale5rorce+ to hear celebrrties, activists, and                             Al Cuow
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                   athletes share their stories. Watch the Dreamforce live                                ~      "'lr1••·      , ....   ,.   "HJw'tt("J ,.11'


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                                                                               What'snew at Salesforce?
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Two Toned Titles
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Two Toned Titles
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 Sales c-oud Genie
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 Grow reven e wi h custo ermag1c
  Make every rep more productive with bots                                                                                                                      More



 Surface relevant deal insights at every stage with AI                                                                          1.-   Opportunitiec;              V


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  Improve voice & video conversations with
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Two Toned Titles
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 Service Cloud Genie
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  Resolve cases faster with automation
                                                                                                                                                                           Lauren Boyle

  Pred·ct service issues before they happen with AI                                                                                                                        .:   Loyalty M,ember




  Make every agent a trusted advisor w·th real-time data                                                                                                       Can you help connect my new
                                                                                                                                                               headphones to my phone?




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 Automate every message, on any channel, at the right time
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  Impro ve marketin,g perfo rm1ancewith AI-dr1ven insights
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Two Toned Titles
Go Here
 Commerce Cloud Genie
 Delivercus omer magic from
 discoveryto delivery
 Automate iulfillment based on your customer's profile
  Maximize every cart with AI-powered merchandising
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 Ta· or every s.hopping experience with real-time activity data


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 Tableau Gen· e
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 Automate workflows,from analytics

  Enrich every dashboard with AI

 Take acti,on fast with real-time data                                                                               Tableau   P   :16 P


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 New
    Customer Data Platform Con ectors    GAI Now

     nstant Ana ytics for Tableau        GA I Spr·ng '23
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Two Toned Titles
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  environmental, social and governance goals, and the anticipated benefits of acquired companies. The achievement or success of the matters covered by such forward-llooking statements
   involves risks, uncertainties and assumptions. If any such risks or uncertainties materialize or if any of the assumptions prove incorrect, Salesforce's results could differ materially from the results
  expressed or implied by these forward-looking statements. The risks and uncertainties referred to above include those factors discussed in Salesforce's reports filed from time to time with the
  Securities and Exchange Commission, including, but not limited to: the impact of, and actions we may take in response to, the COVID-19 pandemic, related public health measures and resulting
   economic downturn and market volatility; our ability to mainta in security levels and service performance meeting the expectations of our customers,. and the resources and costs required to
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  avoid unanticipated downtime and prevent, detect and remediate performance degradation and seieurity breaches; the •expensesassociated with our data centers and third-party infrastructure
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   regulations, including those related to the provision of services on the Internet, those related to accessing the Internet, and those addressing data privacy1 cross-border data transfers and import
  and export controls; current and potential !litigation involving us or our industry, inc1uding litigation involving acquired entities such as Tableau Software, Inc. and Stack Technologies, Inc., and
  the resolution or settlement thereof; regulatory developments and regulatory investigations involving us or affecting our industry; our ability to successfully introduce new services and product
  features, including any efforts to expand our services; the suiecessof our strategy of acquiring or mak1i·nginvestments in complementary businesses, joint ventures, services, technologies and
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  we participate; the success of our business strategy and our plan to build our business1 including our strategy to be a leading provider of enterprise cloud computing applications and platforms;
   our ability to ,execute our business plans; our ability to continue to grow unearned revenue and remaining performance obligation; the pace of change and innovation in enterprise cloud
   computing services; the seasonal nature of our sales cycles; our ability to limit ,customer attrition and costs related to those efforts; the success of our international expansion strategy; the
   demands on our personnel and infrastructure, :resulting from significant growth in our customer base and operations, including as a re,sult of acquisitions; our ability to preserve our workplace
   culture, including as a result of our decisions regarding our current and future office environments or work-from-home policies; our dependency on the development and maintenance of the
   infrastructure of the Internet; our real estate and office facilities strategy and related costs and uncertainties; fluctuations in, and our ability to predict, our operating results and cash flows; the
  variability in our results arising from the accounting for term license revenue products; the performance and fair value of our investments in complementa1ry businesses through our strategic
   investment portfolio; the impact of future gains or losses from our strategic investment portfolio, including gains or losses from overall market conditions that may affect the publicly traded
   companies within our strategic investment portfolio; our ability to protect our intellectual property rights; our ability to develop our brands; the impact of foreign currency exchange rate and
   interest rate fluctuations on our results; the valuation of our deferred tax assets and the release of related valuation allowances; the potential availability of additional tax assets in the future; the
   impact of new accounting pronouncements and tax laws;.uncertainties affecting our ab ility to estimate our tax rate; uncertainties regarding our tax obligations in connection with potential
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  jurisdictional transfers of intellectual property, including the tax rate, the timing of the transfer and the value of such transferred intellectual property; uncertainties regarding the effect of
  general economic and market conditions; the impact of geopol,itical events; uncertainties regarding the impact of expensing stock options and other equity awards; the sufficiency of our capital
   resources; our ability to comply with our debt covenants and lease obligations; and the impact of climate change, natural disasters and actual or threatened public heal:th emergencies, including
  the ongoing COVID-19 pandemic.
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 A new day for customer magic




 Marc & Bret
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 Source: IDC White Paper sponsored by SaJesforce,
 "The Salesforce Economic Impact," doc
 #US48214821, September-20 2021.
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      Empower efficiency
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      Engage customers in the
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Two Toned Titles
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Two Toned Titles
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Two Toned Titles
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Two Toned Titles
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Two Toned Titles
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                   Join us on Sale5rorce+ to hear celebrrties, activists, and                             Al Cuow
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                   athletes share their stories. Watch the Dreamforce live                                ~      "'lr1••·      , ....   ,.   "HJw'tt("J ,.11'


                   st ream, free,




                                                                               What'snew at Salesforce?
                                                Case 1:23-cv-11718-AK Document 14 Filed 10/16/23 Page 199 of 227




Two Toned Titles
 Salesforce
Go Here
 C stomer360
 Powered                                        s_ les


 by Gen ·e  ~                       Succesis                            Serviice



 The world's 1st       Partne1rs                                                                                                    Str ams           Segm nts         Act~vations

 real-time CRM
                                                                                                                                    P rsonaliz tion        I ot        Pr1d1ictions


                   rndustrie,s •                                                             C·ommerce
                                                                                                                   1~1 Automt   d   Woirkflow           RPA            Int gra-tion




                                                                                                                   ~ Hyp rforc      Compli 1nce        D ta R id ncy      Priv cy
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Two Toned Titles
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 Sales c-oud Genie
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 Grow reven e wi h custo ermag1c
  Make every rep more productive with bots                                                                                                                       More



 Surface relevant deal insights at every stage with AI                                                                           1.-   Opportunitiec;              V


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  Improve voice & video conversations with
  real-time guidance
                                                                                                                                       ,I
                                                                                                                                                                        This deal is ready to close.
                                                                                                                             .    Billing Address

 New
                                                                                                                                                             J1i'mmyHarold     lh
   Enable,ment                           GA I Winter 23
                                                     1                                                       •
                                                                                                                                  8 ness Phone
                                                                                                            -+-         •         Number                     @Lisa Negotiations under way!
                                                                                                                     ...,_
   Einstein Bots for Sa es               GA I Summer '23                                                                          Primary
                                                                                                                                  Corporate
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 Service Cloud Genie
 De ivermagIca service1nreal- me
                                                                                                                                                                   Case Number #00001528


  Resolve cases faster with automation
                                                                                                                                                                           Lauren Boyle

  Pred·ct service issues before they happen with AI                                                                                                                        .:   Loyalty M,ember




  Make every agent a trusted advisor w·th real-time data                                                                                                       Can you help connect my new
                                                                                                                                                               headphones to my phone?




                                                                                                                                  Absolutely! Here's an article:
 New
                                                                                                                         +
                                                                                                                                  ' Einstein Recommendation          (f)
   Contact Center Genie                   GA I Winter 23
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                                                                                                                              +      Bluetooth Setup
   Fron ine Service                      GA I Winter '23                                                                     •
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   WhatsApp-F·rstBusinessMessag·ng GA I Spring '23
                                                                                                                       Type a message
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  Marketing Cloud Genie
     i           ti                                        I
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                               I
 Automate every message, on any channel, at the right time
                                                                                                                          V

  Impro ve marketin,g perfo rm1ancewith AI-dr1ven insights
         1                 1                   1       1




  Personalizeevery moment with real-time data
                                                                                                                              +


 New                                                                                                                              OrdOrs(2A)




   Real-Time Pe·rsonalization               GA I Now
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   Real-TimeJo,urneyOrchestration           Pilot I No'w


   WhatsApp-Firs
               t BusinessMessaging
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                                            GA I w·nter'23
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Two Toned Titles
Go Here
 Commerce Cloud Genie
 Delivercus omer magic from
 discoveryto delivery
 Automate iulfillment based on your customer's profile
  Maximize every cart with AI-powered merchandising
                                                                                                                                                   a
                                                                                                                                                                         Va   pricin
 Ta· or every s.hopping experience with real-time activity data


 New                                                                                                                                                                              Rapid reorder

   Composable Storefront                     GA I Now                                                                                             Q y. 24/ca



                                             GA I Winter '23
                                                                                                                           Ord r D   lls
                                                                                                                                                                   I
   Commerce Marketplace

   Store AssociateApp                        GA I Winter '23
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 Tableau Gen· e
 Tu·....real-rme insig ts n 'O
 c stomermag c                                                                                                       29 % fas~er_time
                                                                                                                          to 1ns1ghts

 Automate workflows,from analytics

  Enrich every dashboard with AI

 Take acti,on fast with real-time data                                                                               Tableau   P   :16 P


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 New
    Customer Data Platform Con ectors    GAI Now

     nstant Ana ytics for Tableau        GA I Spr·ng '23
                                                                                                                                           Opportunities at 85% of target
Two Toned Titles
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  MuleSoft Genie
 Rea -time cus omer magic
 acrossevery system
                1
  Build 1multi-syst
                 em automations with ,clicksor c:ode
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  Create connected, AI-powered experiences
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  Unloclkreal-time data from an1ysystem

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 New
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   Anypoint Connector for CDP              GA I Now                                                                        +
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   Automation with Mul eS,oft RPA                                                   m


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 Deliverreal-tme customermag·c
 fromyourDigitalHQ
                                                                                                                          #de 1-co
 Increase efficiency with automated workflows
                                                                                                                                     I Al rt
 Bring intelligent insights into any channe

 Make better decisions with real-time data

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  Slack Huddles                               GA I Today
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  Slack Canvas                                GA I 2023                                                                                  8


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  The New Slack P atform:                     Beta I Today




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 Salesforce
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 C stomer360
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 by Gen·e                                                          Serviice



 Save money.         Partne1rs                                                                                                 Str ams           Segm nts         Act~vations
 Savet·me.
 Grow revenue.                                                                                                                 P rsonaliz tion        I ot        Pr, d1ictions


                 rndustrie,s•                                                           C·ommerce
                                                                                                              1~1 Automt   d   Woirkflow           RPA            Int gra-tion




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                                                                   Suzy Deering
                                                                     CMO, Ford
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EVP& GM, Salesforce



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                                                                                       Discovery

                                                  Accelerates                                                  Intel,ligent Setup
                                                Transformation                                                  & Onboarding




                              Dealer                                                                                                  PersonaIized
                            Engagement                                                                                                 Customer
                                                                                                                                      Experience




         o/o            Automotive
                          Cloud
                                                                                                                                             Joyful
                                                                                                                                            Purchase


  simp ification
  of customer journey

                                Green                                               Ford Customers                                    Progressive
                                                                                                                                      Learning &
        o/o                   Initiative
                                                                                                                                    Smart Assistance


  reduction ·n emai
  templates
                                                      Digital                                                     Integrated
                                                  Collaboration                                                  Customer&
                                                                                                              Vehicle Information
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                                                                                     & Protected
                                                                                     Critical Data
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                   Nic,olasHieronimus                                      Asmita Dubey              !BarbaraLavernos
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                              C.EO                                       Ch et Digital Officer   ,     Deputy CEO
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                          I
  President & CMO, Sa esforce
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Go Here                                                                      Relationship
                                                                               Building

                                              Proven                                                    Persona l1ized
                                            Long-Term                                                     Service
                                             Success




                         Partner                                                                                          Connected
                        Ecosystem                                                                                         Customer
                                                                                                                           Journeys




                   Optimized                                                                                                   Immersive
                   Plianning &                                                                                                 Ecommerce
                                                                                                                               Experiences
 contacts          Execution

 activated


                                                                         Beauty Consu,mers
                       Sustainable                                                                                        Actionable
                      Commitments
                                                                          & Professionals                                Analytics & AI

 ecommerce
 sites

                                          CoUaboration                                                   Seamless
                                         for Innovation                                                 Integration

                                                                                 Secure
                                                                                Platform
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                       Your Dreamfo ce Journey




    v·sit the           See Fitz and the                             Attend the Genie               Catch ~tall
    Campground to       Tantrums tonight                             Keynote on                     on-demand on
    experience Genie    at the Homecoming                            T ursday                       Salesforce +
    in action           Celebration                                  at 10:30am
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                     sforce.co/survey
